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15
                            IN THE UNITED STATES DISTRICT COURT
16                        FOR THE NORTHERN DISTRICT OF CALIFORNIA
17
18   ROBERT O. GILMORE, et al.,          )                       No. C 66-45878 SI
                                         )
19         Plaintiffs,                   )
                                         )                       JOINT STIPULATION AND
20   v.                                  )                       [PROPOSED] ORDER FOR
                                         )                       PAYMENT OF UNDISPUTED
21   STATE OF CALIFORNIA, et al.,        )                       ATTORNEYS’ FEES AND COSTS
                                         )
22                Defendants.            )
                                         )
23   ____________________________________)
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28

     Gilmore v. California, No. 66-45878 SI,
     Stip.and Proposed Order re Pmt. Attorneys’ Fees and Costs
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 1           THE PARTIES, BY AND THROUGH THEIR COUNSEL, HEREBY STIPULATE

 2   AND AGREE AS FOLLOWS:

 3           1.       The parties, through their counsel, have met and conferred regarding
 4   Plaintiffs’ demand for payment of attorneys’ fees and costs for the period of August 7,
 5   1997 through April 20, 2010.
 6           2.        The parties now agree that $149,669 is the total attorneys' fees and costs
 7
     payable to Plaintiffs' counsel for the period of August 7, 1997, through April 20, 2010,
 8
     and that Plaintiffs have no other outstanding fees or costs associated with this action for
 9
     which Defendants are liable.
10
             3.       Defendants agree to pay $149,669 to Plaintiffs' counsel as full and final
11
     payment of all attorneys' fees and costs associated with this action. Defendants further
12
13   agree to pay that amount no later than 90 days after the date the Governor signs the State

14   of California's budget for fiscal year 2010-2011. Defendants further agree that interest

15   will begin to accrue on any unpaid amount on the 46th day after the entry of this
16   stipulated order at the rate provided by 28 U.S.C. § 1961 (i.e., the weekly average 1 year
17   constant maturity Treasury yield for the calendar week preceding the date of the order).
18   IT IS SO STIPULATED.
19
     Dated: June 29, 2010                                   By: /s/ Alison Hardy
20
                                                            ALISON HARDY
21                                                          Prison Law Office
22                                                          Attorney for Plaintiffs

23
24   Dated: June 29, 2010                                   By. /s/ Damon McClain
                                                            Damon McClain
25                                                          Deputy Attorney General
26                                                          Attorney for Defendants
27
     I, Alison Hardy, attest that Damon McClain signed this document on June 29, 2010.
28

     Gilmore v. California, No. 66-45878 SI,
     Stip.and Proposed Order re Pmt. Attorneys’ Fees and Costs
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 1   IT IS SO ORDERED.
 2
     DATED:___________________                                   ________________________
 3                                                               Hon. SUSAN ILLSTON
 4                                                               United States District Court
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     Gilmore v. California, No. 66-45878 SI,
     Stip.and Proposed Order re Pmt. Attorneys’ Fees and Costs
